               Case 9:21-bk-10261-DS Doc 111 Filed 05/14/21 Entered 05/14/21 17:00:01                                                                     Desc
                              UNITED STATES   DEPARTMENT
                                        Main Document     OF 1JUSTICE
                                                       Page    of 11
                               OFFICE OF THE UNITED STATES TRUSTEE
                                 CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                CHAPTER 11 (BUSINESS)
   37 Ventures, LLC
                                                                                      Case Number:             9:21-bk-10261-DS
                                                                                      Operating Report Number:                    2
                                                                Debtor(s).            For the Month Ending:               30-Apr-21

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                     A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                    0.86

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                         0.86
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                6,639.07

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                                    0.00
   Accounts Receivable - Pre-filing                                                                                     0.00
   General Sales
   Other (Specify)
   **Other (Specify)

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                           0.00

5. BALANCE:                                                                                                                                          6,639.07

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)
   Disbursements (from page 2)                                                                                      325.00

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                                 325.00

7. ENDING BALANCE:                                                                                                                                   6,314.07

8. General Account Number(s):                                                         Axos Bank x1627

     Depository Name & Location:



* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.
****The bank statement reflects the reversal of a "trialcred[i]t" from the bank in the amount of $0.86.




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                Case 9:21-bk-10261-DS    Doc 111 Filed 05/14/21 Entered 05/14/21 17:00:01
                           TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD
                                                                                                                                               Desc
                                          Main Document     Page 2 of 11
   Date                                                                                                                          *Amount **Amount
             Check Number Payee or DIP account                     Purpose                                                                             Amount
 mm/dd/yyyy                                                                                                                     Transfered Disbursed
   4/15/2021       1     US Trustee            UST Quarterly Fees (Q1, 2021)                                                        325.00               325.00
                                                                                                                                                           0.00
                                                                                                                                                           0.00
                                                                                                                                                           0.00
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                                                                                                                                                           0.00
                                                                                                                                                           0.00
                                                                           TOTAL DISBURSEMENTS THIS PERIOD:                        325.00      0.00     $325.00
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you




                                                                                  Page 2 of 16
                  Case 9:21-bk-10261-DS                                    Doc 111GENERAL
                                                                                    Filed 05/14/21
                                                                                           ACCOUNT
                                                                                                    Entered 05/14/21 17:00:01   Desc
                                                                            MainBANK
                                                                                 Document     Page
                                                                                     RECONCILIATION
                                                                                                   3 of 11

                           Bank statement Date:                                 3/31/2021 Balance on Statement:                    $6,314.07

Plus deposits in transit (a):
                                                                       Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                                  0.00
Less Outstanding Checks (a):
                    Check Number                                           Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                                  0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                                 $6,314.07
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




                                                                                         Page 3 of 16
              Case 9:21-bk-10261-DS                      Doc 111 Filed 05/14/21 Entered 05/14/21 17:00:01                          Desc
                                                      I. DMain
                                                          SUMMARY    SCHEDULE
                                                               Document    Page OF
                                                                                4 ofCASH
                                                                                     11

ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                        General Account:                                6,314.07
                                                                        Payroll Account:
                                                                           Tax Account:
    *Other Accounts:


       *Other Monies:
                                                         **Petty Cash (from below):

TOTAL CASH AVAILABLE:                                                                                                                 6,314.07


Petty Cash Transactions:
        Date                                 Purpose                                                             Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                            0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




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         Case 9:21-bk-10261-DS Doc 111 Filed 05/14/21 Entered 05/14/21 17:00:01                      Desc
                   II. STATUS OF PAYMENTS  TO SECURED
                                  Main Document   PageCREDITORS,
                                                      5 of 11    LESSORS
                         AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                       Post-Petition
                            Frequency of Payments                   payments not made
 Creditor, Lessor, Etc.           (Mo/Qtr)        Amount of Payment     (Number)                   Total Due




                                                                                TOTAL DUE:                     0.00


                                             III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                             Gross Sales Subject to Sales Tax:
                                                                           Total Wages Paid:

                                                    Total Post-Petition                          Date Delinquent
                                                     Amounts Owing         Amount Delinquent      Amount Due
                           Federal Withholding
                           State Withholding
                           FICA- Employer's Share
                           FICA- Employee's Share
                           Federal Unemployment
                           Sales and Use
                           Real Property
                  Other:                            Page 11 of 16
                                          TOTAL:                    0.00                0.00
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                           IV. AGING OFMain
                                        ACCOUNTS  PAYABLE
                                            Document  Page AND   RECEIVABLE
                                                           6 of 11

                                                                            *Accounts Payable                            Accounts Receivable
                                                                               Post-Petition                        Pre-Petition     Post-Petition
                                                            30 days or less N/A
                                                              31 - 60 days
                                                              61 - 90 days
                                                             91 - 120 days
                                                            Over 120 days
                                                                  TOTAL:                   0.00                                   0.00                         0.00

                                                            V. INSURANCE COVERAGE

                                                                                        Amount of               Policy Expiration           Premium Paid
                                                        Name of Carrier                 Coverage                      Date                  Through (Date)
                        General Liability N/A
                 Worker's Compensation
                                Casualty
                                 Vehicle
               Others: Property


                                          VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                       (TOTAL PAYMENTS)

 Quarterly Period                 Total                                                                                                      Quarterly Fees
  Ending (Date)               Disbursements              Quarterly Fees                  Date Paid                 Amount Paid                Still Owing
       31-Mar-2021                            0.00                    325.00               15-Apr-2021                        325.00                           0.00
                                                                                                                                                               0.00
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                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                      325.00                                                  325.00                           0.00

                                                                          Page
* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and      12 which
                                                                            expenses of 16have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report
               Case 9:21-bk-10261-DS                  Doc
                                                      X.    111 SHEET
                                                         BALANCE Filed     05/14/21 Entered 05/14/21 17:00:01                          Desc
                                                        Main   Document
                                                      (ACCRUAL BASIS ONLY)     Page 7 of 11
ASSETS                                                                          Current Month End
  Current Assets:
  Unrestricted Cash                                                                           6314
  Restricted Cash
  Accounts Receivable
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize): Investments in companies listed on Schedule A/B, Section 15. Unknown
                                                           Total Current Assets                                               6314 *

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                                             Net Property, Plant, and Equipment

Other Assets (Net of Amortization):
   Due from Insiders
   Deposit at Vendors
                                                               Total Other Assets

TOTAL ASSETS                                                                                                                  6314 *

LIABILITIES
Post-petition Liabilities:
   Accounts Payable
   Taxes Payable
   Notes Payable
   Professional fees
   Secured Debt
   Other (Itemize)
                                                    Total Post-petition Liabilities                                              0

Pre-petition Liabilities:
   Secured Liabilities                                                                                 0
   Priority Liabilities                                                                                0
   Unsecured Liabilities                                                              $   13,906,333.17
   Tenant Deposit
                                                     Total Pre-petition Liabilities                        $         13,906,333.17


TOTAL LIABILITIES                                                                                          $         13,906,333.17

EQUITY:
  Pre-petition Owners’ Equity                                                         Unknown
  Post-petition Profit/(Loss)                                                         Unknown
  Direct Charges to Equity
TOTAL EQUITY                                                                                               Unknown
                                                                                                                                              #######
TOTAL LIABILITIES & EQUITY                                                                                 Unknown

       *Plus investments in companies listed on Schedule A/B, Section 15.




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                                       Sole and Managing Member
       Case 9:21-bk-10261-DS                                            Statement 17:00:01
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                                                                     From April     01, 2021
                                       Main Document    Page 9 of 11 To April       30, 2021
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                                                                            PRIVATE CLIENT GROUP 867
                                                                            21255 BURBANK BLVD, SUITE 32
                                                                            WOODLAND HILLS, CA 91367




            37 VENTURES, LLC DIP                    9-867
            CASE #9:21-BK-10261-DS
            365 E. AVENIDA DE LOS ARBOLES
            THOUSAND OAKS CA 91360          999
                                                                      See Back for Important Information



                                                                   Primary Account:            1627        1

              IMPORTANT MESSAGE ABOUT IDENTITY THEFT! SIGNATURE BANK WILL NEVER
              ASK YOU TO PROVIDE PERSONAL OR BUSINESS ACCOUNT INFORMATION THROUGH
              E-MAIL. IF YOU RECEIVE ANY E-MAIL OR OTHER INQUIRY THAT APPEARS TO COME
              FROM SIGNATURE, DO NOT RESPOND TO IT OR CLICK ON ANY LINKS INCLUDED IN
              THE E-MAIL. INSTEAD, CALL US TOLL-FREE AT 1-866-SIGLINE OR CONTACT
              YOUR ACCOUNT OFFICER. FOR MORE INFORMATION ON IDENTITY THEFT, VISIT
              OUR WEBSITE AT WWW.SIGNATURENY.COM. CLICK ON "ABOUT US", "PRIVACY
              & SECURITY", "IDENTITY THEFT" FOR MORE INFORMATION ON SAFEGUARDING YOUR
              IDENTITY AND PERSONAL INFORMATION.

Signature Relationship Summary                                   Opening Bal.                    Closing Bal.

BANK DEPOSIT ACCOUNTS
      1627      BANKRUPTCY CHECKING                                  6,639.07                         6,314.07

              RELATIONSHIP             TOTAL                                                          6,314.07
          Case 9:21-bk-10261-DS                                         Statement 17:00:01
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                                                                     From April     01, 2021
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                                                                        Page     2 of     2

                                                                        PRIVATE CLIENT GROUP 867
                                                                        21255 BURBANK BLVD, SUITE 32
                                                                        WOODLAND HILLS, CA 91367




              37 VENTURES, LLC DIP                  9-867
              CASE #9:21-BK-10261-DS
              365 E. AVENIDA DE LOS ARBOLES
              THOUSAND OAKS CA 91360          999
                                                                   See Back for Important Information



                                                                Primary Account: 1504061627        1



BANKRUPTCY CHECKING                  1627




Summary

 Previous Balance as of April     01, 2021                                                    6,639.07
        1 Debits                                                                                325.00
 Ending Balance as of   April     30, 2021                                                    6,314.07



Checks by Serial Number
 Apr 27          1                325.00

Daily Balances
 Mar 31               6,639.07                      Apr 27         6,314.07
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Date:04/27/2021 Account:1504061627 Amount:$325.00 Serial:1 Sequence:6171627520 TR:26013576 TranCode:0
                                       DbCr:D Pattern:1 RIC:0
